aaa FILED

UNITED STATES DISTRICT COURT =~ CHARLOTTE, yo
WESTERN DISTRICT OF NORTH CAROLINA —— yay 9
CHARLOTTE DIVISION - 6 2019
3:18-cv-00019-FDW-DCK Fe us psn
~ WESTERN DisTR CURT
CATHERINE E. SHARKEY Ne
Plaintiffs,
v VERDICT FORM

FORTRESS SYSTEMS INTERNATIONAL,
INC., d/b/a FORTRESS MOBILE, and
ZHONG SU, individually,

Defendants.

New Nee Nee ee nee eee Ne ee” ee” ee” ee”

 

We, the Jury, unanimously find:
1. Are Defendants liable to Plaintiff Catherine E. Sharkey for violation of the Fair Labor
Standards Act?
YES
no +
If you answered “Yes” to Question 1, proceed to question 2. Ifyou answered “No,” then do not
answer Question 2, and you may end your deliberations.
2. What amount of damages, if any, is Plaintiff Catherine E. Sharkey entitled to recover on this
claim?

$

(Write out amount in words)

 

You may end your deliberations and sign the verdict form.

Dated this the ln day of November, 2019.

Case 3:18-cv-00019-FDW-DCK Do

 

 
